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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION



STEVE CONLEY, NANCY CONLEY,
Individually and NANCY CONLEY
as NEXT FRIEND OF J. C., a Minor

Plaintiffs                                        Case No. 2:11-cv-11205
                                                  Hon. Sean F. Cox
v.                                                Magistrate Judge R. Steven Whalen

MLT, INC., a Minnesota corporation,
DIAMOND HOTELS COZUMEL S.A.
de C.V., a foreign corporation, HOLIDAY
VILLAGE WHITE SANDS S.A., a foreign
corporation, OCCIDENTAL HOTELS
MANAGEMENT B.V., a foreign corporation,
OCCIDENTAL HOTELES MANAGEMENT,
S.L., a foreign corporation, and ALLEGRO
RESORTS MARKETING CORPORATION,
a Florida corporation

               Defendants,
____________________________________________________________________________/
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___________________________________________________________________________/

            SUPPLEMENTAL BRIEF IN SUPPORT OF PLAINTIFFS’
        MOTION TO ADJOURN HEARINGS ON DEFENDANTS’ MOTIONS
     FOR SUMMARY JUDGEMENT FOR LACK OF PERSONAL JURISDICTION
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                     STATEMENT OF ISSUES PRESENTED


      I.    DOES THE DISCOVERY PROPOSED BY PLAINTIFF COMPORT
            WITH THE INSTRUCTIONS OF THE COURT GIVEN AT THE
            OCT. 27, 2011 STATUS CONFERENCE?


                  Plaintiffs answer:                Yes
                  Defendants’ anticipated answer:   Yes




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                              CONTROLLING AUTHORITY



Neogen Corp. v. Neo Gen Screening, Inc., 282 F.3d 883 (6th Cir. 2002)

Bird v. Parsons, 289 F.3d 865 (6th Cir. 2002)

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                                        INTRODUCTION

       The minor plaintiff suffered a skull fracture and serious brain damage when a hammock at

a resort in Cozumel, Mexico where he was staying with his parents collapsed. (see photos attached

as Exhibit A) Plaintiffs had selected and purchased a vacation at this particular resort after viewing

resorts on a web site with the domain name “Occidental Hotels.com”. There are at least nine

Occidental Hotels resorts advertised on the Occidental web site. It is a fully interactive web site,

permitting customers to complete their purchase of all inclusive resort vacation through submission

of credit card information via the web site. Review of the web site left no doubt in the plaintiff’s

mind that Occidental Hotels operated the hotels advertised on the web site. Defendants’ web site

includes the following:

       Occidental Hotels & Resorts, with 46 hotels in 31 destinations in 8 countries,
       throughout Europe, Africa and the Americas, is one of the innovative
       leaders in the industry.
                                   . . . . . . . . . .

       Occidental Hotels & Resorts offers the finest all-inclusive resorts in Mexico,
       the Caribbean and Costa Rica as well as exquisite city hotels in for the business
       traveler with exceptional service and dining options. Depending on your
       destination you can select from four distinct brands, based on your lifestyle.
       In the leisure market, choose from the sophisticated luxury at the Royal
       Hideaway, or the diverse sanctuaries in exceptional settings at the Occidental
       Grand or family-friendly getaways at Allegro resorts. When it comes to our
       hotels & resorts, you will receive the Occidental promise of uncompromising
       quality and service. (emphasis added)
       (see excerpts from the web site attached as Exhibit B)

       Plaintiffs filed their First Amended Complaint alleging negligence against six defendants.

Two of the defendants (Diamond Hotels Cozumel S.A. de C.V. and Village White Sands S.A.) are

corporations incorporated in Mexico. Service of process has not been confirmed on either. The

Occidental defendants are also foreign. Occidental Hotel Management, B.V. (hereinafter OHMBV)

is a Dutch corporation and Occidental Hotel Management, S.L. (hereinafter OHMSL) is a Spanish


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corporation. Defendant Allegro Resort Management Corporation (hereinafter Allegro) is a Florida

corporation of which OHMBV owns 100% of the stock. All of Allegro’s corporate officers are also

corporate officers of OHMSL.

       As their names imply, the Occidental defendants are in the business of managing

hotels/resorts, most of them in the Caribbean. It is not surprising that the defendant’s business does

not rely upon walk-in customers from the citizenry of Mexico, the Dominican Republic, Costa Rica

and the other locales where the defendants’ properties are located. The life blood of the Caribbean

resort industry is the American tourist/consumer. Without direct, aggressive marketing to the U.S.

market the resorts simply could not exist. Plaintiff contends that nearly 100% of the business at the

defendant’s properties is compromised of the American consumer to whom the above described

web site is directed. By their own admission, the Occidental defendants’ marketing is handled

through Allegro (page 10 of OHMBV’s Brief in Support of Motion for Summary Disposition), the

Florida corporation of which OHMBV owns 100% of the stock and which shares corporate officers

with OHMSL.

       The defendants OHMBV and Allegro have brought motions for summary judgment for

lack of personal jurisdiction. They argue that, as large corporations which earn virtually all of their

many millions of dollars of revenue from American customers, they do not have sufficient contacts

with Michigan, or any other state for that matter, to permit them to be answerable here for their acts

of negligence. Of course, if plaintiffs and other U.S. customers are unable to bring their claims in

their own states, but are forced to litigate in Mexico, they will have no recourse. The plaintiffs in

this case and virtually all others have neither the sophistication nor the resources to hire local

counsel in foreign countries to pursue their claims.




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         In response to the motions for summary judgment plaintiff filed her Motion to Adjourn

Hearings on Defendants’ Motions for Summary Judgment to permit discovery on the issue of

personal jurisdiction. This court adjourned the Oct. 27, 2011 hearings on the pending motions for

summary disposition and ordered counsel to appear for a status conference. At that conference the

court ordered plaintiff to submit a supplemental brief in support of her Motion to Adjourn Hearings

on Defendants’ Motions for Summary Judgment and to attach proposed interrogatories, document

requests and notices of deposition. This Supplemental Brief is submitted in compliance with that

order.     Attached as Exhibit C is Plaintiff’s Proposed Personal Jurisdiction Interrogatories,

Document Requests and Notices of Deposition to Occidental Hotels Management B.V. Attached

as Exhibit D are Plaintiff’s Proposed Personal Jurisdiction Interrogatories, Document Requests and

Notices of Deposition to Allegro Resorts Marketing, Inc. Exhibit E is a Document Request and

Notice of Deposition directed to defendant MLT, Inc.

                                           ARGUMENT

A.       Interrogatories

         The interrogatories proposed by the plaintiff are designed to specifically address factors

recognized by appellate authority as relevant in determining whether the minimum contacts

sufficient to sustain personal jurisdiction are present.

Interrogatories 1-11: These interrogatories seek information regarding the defendant’s contacts

with the State of Michigan. Each of the topics inquired of had been held to be a factor in

determining the existence of minimum contacts with a forum jurisdiction. The number and nature

of contracts a defendant has entered into with persons and entities in the forum state is consistently

found relevant to the inquiry. Burger King Corp. v. Rudzewicz, 471 U.S. 462 (1985); Compuserve,

Inc. v. Patterson, 89 F.3d 1257 (6th Cir. 1996); Bridgeport Music, Inc. v. Still N The Water Pub.,


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327 F.d 427 (6th Cir. 2003); Nationwide Mut. Ins. Co. v. Tryg Int’l Ins. Co. Ltd, 91 F.3d 790 (6th

Cir. 1996) Though a physical presence in the forum state is not required to establish purposeful

availment, the maintenance of an office, owned or rented, or other physical presence will support

such a finding. Perkins v. Benguet Consolidated Mining Co., 342 U.S. 437 (1957).

        Likewise the volume of sales made in the forum state over time and its relationship to the

defendant’s total sales are relevant to characterizing the defendant’s relationship with the forum.

Mich. Nat’l. Bank v. Quality Dinette, Inc., 888 F.2d 462, 466 (6th Cir. 1989); Bird v. Parsons, 289

F.3d 865 (6th Cir. 2002); Compuserve, Inc. v. Patterson, 89 F.3d 1257 (6th Cir. 1996).

        A defendant’s marketing efforts directed to the residents of the forum state are particularly

germane to the issue of personal jurisdiction. The Supreme Court stated in Burger King Corp. v.

Rudzewicz, 47 U.S. 462, 105 S.Ct. , "So long as a commercial actor's efforts are `purposefully

directed' toward residents of another State, we have consistently rejected the notion that an absence

of physical contacts can defeat personal jurisdiction there." Id. at 476, 105 S.Ct. at 2184. The Sixth

Circuit has long held that “Physical presence of an agent is not necessary ... for the transaction of

business in a state. The soliciting of insurance by mail, the transmission of radio broadcasts into a

state, and the sending of magazines and newspapers into a state to be sold there by independent

contractors are all accomplished without the physical presence of an agent; yet all have been held

to constitute the transaction of business in a state”. Southern Mach. Co. v. Mohasco Indus., 401 F.2d

374, 382 (6th Cir. 1968). The 6th Circuit has specifically held that a defendant’s marketing efforts

may alone constitute purposeful availmentof the privilege of acting in the forum state. Mich. Nat’l.

Bank v. Quality Dinette, Inc., 888 F.2d 462, 466 (6th Cir. 1989); Bridgeport Music, Inc. v. Still N

The Water Pub., 327 F.d 427 (6th Cir. 2003) The defendants’ marketing in Michigan is also

revealed in its effort to recruit travel agents into its travel agent programs.


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 Interrogatories 12-26: These interrogatories seek information regarding the relationships among

 the defendants.    An aspect of the defendants’ inter-relationships which is relevant to the

 jurisdictional inquiry is the nature of their marketing agreements. It has long been held that the

 defendant’s conscious undertaking to market in a state constitutes purposeful availment of the

 benefits of doing business in the state. Mich. Nat’l. Bank v. Quality Dinette, Inc., 888 F.2d 462, 466

 (6th Cir. 1989); Bridgeport Music, Inc. v. Still N The Water Pub., 327 F.d 427 (6th Cir. 2003).

         As stated above, the Occidental defendants’ marketing is handled through Allegro (page 10

 of OHMBV’s Brief in Support of Motion for Summary Disposition), the Florida corporation of

 which OHMBV owns 100% of the stock and which shares corporate officers with OHMSL. That

 admission makes discovery on the marketing issue all the more relevant. A defendant cannot

 insulate itself from jurisdiction merely by using an independent national distributor to market its

 products. Tobin v. Astra Pharm. Prods., Inc., 993 F.2d 528 (6th Cir. 1993).

         Plaintiff has alleged that all of the defendants were part of a common operation or joint

 enterprise, and were agents and alter egos each of the others. [D.E. 1, para. 13] The activities of one,

 including those establishing minimum contacts with the State of Michigan, are attributable to all.

  Interrogatories 27-28: These interrogatories are designed to elicit information regarding the

 defendants’ internet marketing which has been held relevant to establishing personal jurisdiction.

 Operation of a web site may constitute purposeful availment of the benefits of conducting business

 in the forum state. Bird v. Parsons, 289 F.3d 865 (6th Cir. 2002); The Cadle Co. v. Schlichtmann,

 123 Fed. Appx. 675, 2005 Fed. App. 0095N (6th Cir. 2005). The Sixth Circuit has adopted the

 “sliding scale” assessment of a defendants internet activity enunciated in Zippo Mfg. Co., v. Zippo

 Dot Com, Inc., 952 F.Supp. 1119 (W.D. Pa. 1997). Under that analysis the likelihood that personal


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 jurisdiction can be constitutionally exercised is directly proportionate to the nature and quality of

 commercial activity which an entity conducts over the Internet. Passive sites which are merely

 sources of information are unlikely to rise to the level of purposeful availment. Web sites which are

 fully interactive to the point of consummating transactions resulting in significant commercial sales

 within the forum state are essentially web based stores. Such fully interactive web sites do establish

 a defendant’s purposeful availment. Neogen Corp. v. Neo Gen Screening, Inc., 282 F.3d 883 (6th

 Cir. 2002).

 Proposed Requests for Production

        The Proposed Requests for Production seek production of the documents identified in

 response to the interrogatories described above. They further the determination of personal

 jurisdiction for the same reasons.

 Proposed Notices of Deposition

        The proposed Notice of Deposition directed to Allegro for the production of three witnesses.

 The two who are specifically identified are known to be officers of both defendant Allegro Resorts

 Marketing Corp and defendant OHMSL. It is believed that they will be able to describe the

 relationships between the defendants and the marketing efforts directed to the State of Michigan.

        Also included are 30(b)(6) notices for the depositions of two witnesses to be designated by

 each of the defendants Allegro and OHMBV. One witness is to be the person most knowledgeable

 regarding the defendant’s relationship with co-defendants.          The other is the person most

 knowledgeable regarding the marketing of the defendants’ hotel properties. Plaintiff is hopeful that

 the specifically named individuals will in fact be the most knowledgeable on these issues. Since

 both specifically named witnesses are corporate officers of Allegro, a Florida corporation, it is

 anticipated that all of the depositions can be accomplished with one brief visit to that state.


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        Plaintiff has also included a 30(b)(6) Notice of Deposition directed to defendant MLT, Inc.

 The notice directs the defendant to produce the person most knowledgeable regarding contractual

 relationships between MLT, Inc. and the co-defendants.

                                          CONCLUSION

        For the reasons stated above plaintiffs request that this Court permit the discovery requested

 herein on the issue of personal jurisdiction.




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                                      CERTIFICATE OF SERVICE



         I hereby certify that on this 10th day of November, 2011 my secretary, Beverly A. Gorton,
 electronically filed the foregoing Plaintiffs’ Supplemental Brief in Support of Plaintiff’s Motion to
 Adjourn Hearings On Defendants’ Motions For Summary Judgement for Lack of Personal
 Jurisdiction with the Clerk of the Court using the ECF system which will send notification of such
 filing to the attorneys of record.




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